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14                                 UNITED STATES DISTRICT COURT
15                                           DISTRICT OF NEVADA
16

17   GABRIELLE CLARK; and WILLIAM CLARK,
                                                      Case No. 2:20-cv-02324-APG-VCF
18                        Plaintiffs,
            v.
19
     DEMOCRACY PREP PUBLIC SCHOOLS, Inc.;
20   and DEMOCRACY PREP NEVADA LLC; and
     DEMOCRACY PREP AGASSI CAMPUS; and
21   NATASHA TRIVERS, in her capacity as CEO of DEFENDANT MELISSA MACKEDON’S
     Democracy Prep Public Schools, Inc.; and         MOTION TO DISMISS
22   KIMBERLY WALL, in her capacity as assistant
     superintendent of Democracy Prep Public
23   Schools, Inc.; and ADAM JOHNSON, in his
     capacity as executive director of Democracy Prep
24   Agassi Campus; and KATHRYN BASS, in her
     capacity as a teacher at Democracy Prep Agassi
25   Campus; and JOSEPH MORGAN, in his capacity
     as president of Democracy Prep Agassi Campus;
26   and REBECCA FEINEN, in her capacity as the
     Executive Director of the State Public Charter
27   School Authority; and MELISSA MACKEDON
     (chair), RANDY KIRNER (vice chair), SHELIA
28   MOULTON, SAMI RANDOLPH, MALLORY

                                                     1
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 1   CYR, TONIA HOLMES-SUTTON, DON
     SOIFER, TAMIKA SHAUNTEE ROSALES,
 2   LEE FARRIS, in their capacities as members of
     the State Public Charter School Authority,
 3
                           Defendants.
 4

 5

 6          Defendant Melissa Mackedon moves to dismiss Plaintiffs Gabrielle Clark and William Clark’s

 7   (“Plaintiffs”) First Amended Complaint for Declaratory and Injunctive Relief (the “FAC”) pursuant to

 8   Federal Rule of Civil Procedure (“Rule”) 12(b)(5) for insufficient service of process.

 9   I.     INTRODUCTION

10          Plaintiffs filed their original complaint in this action on December 22, 2020. ECF No. 1. On May

11   3, 2021, Plaintiffs filed their FAC, naming as a defendant for the first time Melissa Mackedon, chair of

12   the State Public Charter School Authority (“SPCSA”) board. Compare ECF No. 1 with ECF No. 106.

13   Plaintiffs also added nine other defendants associated with the SPCSA: the Executive Director of the

14   SPCSA and eight members of the SPCSA board (together with Chair Mackedon, the “SPCSA

15   Defendants”). Id. Since May 3, 2021, 93 days have passed, and Plaintiffs have neither requested a waiver

16   of service for, nor effected service on, Chair Mackedon. Plaintiffs have, however, requested and obtained

17   a waiver of service for the other SPCSA Defendants. ECF No. 111.

18          Pursuant to Rule 12(b)(5), Chair Mackedon moves for dismissal of this action against her without

19   prejudice for failure to serve process on her within 90 days of the filing of the FAC, as required by Rule

20   4(m). This motion to dismiss is joined with the motion to dismiss filed by Chair Mackedon and the other

21   SPCSA Defendants on June 3, 2021. See ECF No. 115; Rule 12(g).

22   II.    ARGUMENT

23          Rule 4(m) requires that a defendant be served “within 90 days after the complaint is filed.”

24   Because Chair Mackedon was not named as a defendant in the original complaint, the 90-day-period runs

25   from the filing of the FAC. See Bolden v. City of Topeka, 441 F.3d 1129, 1148 (10th Cir. 2006) (Rule

26   4(m)’s time to serve is restarted by the filing of an amended complaint “as to those defendants newly

27   added in the amended complaint” (citations omitted)). 93 days have now passed since Plaintiffs filed

28   their FAC, and service has not been effected on Chair Mackedon.

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 1          Service of process is no mere formality or token act. “Service of process, under longstanding
 2   tradition in our system of justice, is fundamental to any procedural imposition on a named defendant.”
 3   Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 350 (1999). While the Court must
 4   extend the time to serve process “for an appropriate period” upon good cause shown, Rule 4(m), Plaintiffs
 5   cannot establish good cause here. “At a minimum, ‘good cause’ means excusable neglect.” Boudette v.
 6   Barnette, 923 F.2d 754, 756 (9th Cir. 1991). It also “requires more than inadvertence or mistake of
 7   counsel.” Mitchell v. Cty. of Nye, Case No. 2:15-cv-01714-APG-NJK, 2016 WL 6782740, at *2 (D. Nev.
 8   Nov. 14, 2016) (Gordon J.) (citing Townsel v. Contra Costa Cty., 820 F.2d 319, 320 (9th Cir. 1987)).
 9   There is no explanation, other than inadvertence or mistake, for why Plaintiffs would have requested and
10   obtained a waiver of service for the other newly added SPCSA Defendants, see ECF No. 111, but not
11   Chair Mackedon.
12          The Court also has discretion to extend the time to serve, even in the absence of good cause. Rule
13   4(m). In determining whether to exercise that discretion, “a district court may consider factors ‘like a
14   statute of limitations bar, prejudice to the defendant, actual notice of a lawsuit, and eventual service.’”
15   Efaw v. Williams, 473 F.3d 1038, 1041 (9th Cir. 2007) (citation omitted). Here, Plaintiffs would suffer
16   no “severe harm by dismissal without prejudice,” because, for example, there are no “statute of
17   limitations that has expired.” Mitchell, 2016 WL 6782740, at *3 (dismissing case without prejudice even
18   where defendant had received actual notice and defendant had not identified any concrete prejudice). In
19   light of Plaintiffs’ lack of diligence in serving Chair Mackedon, the Court should dismiss this action
20   against her without prejudice.
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 1   III.    CONCLUSION
 2           For the foregoing reasons, the Court should dismiss this action against Chair Mackedon without
 3   prejudice, pursuant to Rule 12(b)(5).
 4           DATED this 4th day of August, 2021.
 5                                               AARON D. FORD
                                                 Attorney General
 6
                                                 By:    /s/ Laena St-Jules
 7                                                      GREGORY D. OTT (Bar No. 10950)
                                                          Chief Deputy Attorney General
 8                                                      LAENA ST-JULES (Bar No. 15156)
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 1                                     CERTIFICATE OF SERVICE
 2          I certify that I am an employee of the Office of the Attorney General, State of Nevada, and that
 3   on August 4th, 2021, I filed the foregoing DEFENDANT MELISSA MACKEDON’S MOTION TO
 4   DISMISS by this Court’s CM/ECF system. Parties will be notified by the Court’s notification system.
 5

 6                                                      /s/ Karen Easton
                                                        Karen Easton, An employee of the
 7                                                      Office of the Attorney General
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